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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


IN RE: CHICAGO BOARD OPTIONS                 Case No. 1:18-cv-04171
EXCHANGE VOLATILITY INDEX
MANIPULATION ANTITRUST                       MDL No. 2842
LITIGATION
                                             Honorable Manish S. Shah




              REPLY MEMORANDUM OF LAW IN SUPPORT OF
                CBOE DEFENDANTS’ MOTION TO DISMISS




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                                        INTRODUCTION

       Plaintiffs’ complaint should be dismissed with prejudice. The amended complaint fails to

cure the pleading defects identified in the Court’s order dismissing the prior complaint, and

introduces new pleading defects.

       The Court dismissed Plaintiffs’ prior securities fraud claim because Plaintiffs did not plead

scienter. That remains true. Plaintiffs expressly acknowledge that Cboe had a non-fraudulent

rationale for designing the SOQ the way it did—to promote legitimate efforts at “replication,” and

hence attract liquidity providers who would make VIX derivatives more effective for all market

participants. Plaintiffs’ theory is not that Cboe intended third parties to manipulate, but rather that

Cboe knew or should have known that third parties would exploit the SOQ. That is insufficient to

plead aiding-and-abetting—let alone the primary liability necessary to survive a motion to dismiss.

       Moreover, Plaintiffs’ theory requires crediting the implausible: that Cboe developed a

product whose susceptibility to manipulation landed precisely in an unlikely sweet spot where

publicly available information would make it just clear enough to would-be manipulators that they

could exploit it, yet that same public information would be veiled enough to elude the notice of

two federal regulators, as well as all of the alleged manipulators’ victims. This is so implausible

that it cannot satisfy Twombly, let alone the PSLRA’s pleading standard.

       The Court also dismissed all of Plaintiffs’ prior claims because Plaintiffs had not pleaded

loss causation. The Court identified the specific information regarding both sides of transactions

necessary to plead loss causation, yet Plaintiffs refused to include it in the complaint. To cure that

pleading defect, Plaintiffs now include a 36-page “appendix” consisting of allegations that do not

appear in the complaint. Submitting new allegations in response to a motion to dismiss is wholly

improper and the appendix therefore should not be considered, but even the new allegations in the

appendix do not plausibly plead loss causation. Plaintiffs’ claims depend on combining the effects


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of two directly contradictory models, which requires Plaintiffs to argue simultaneously that the

spot VIX is and is not the product of manipulation. Plaintiffs claim they are offering “alternative

arguments” (a concession that does appear in the complaint itself). But what Plaintiffs actually

are doing is impermissibly offering alternative facts—combining two irreconcilable factual

premises into the same claim, which makes Plaintiffs’ claim not only implausible, but logically

impossible. And despite a bevy of poorly-explained and contradictory models, Plaintiffs have not

advanced a coherent explanation of how alleged manipulation in the VIX SOQ could have injured

market participants holding positions in different securities that did not settle using the VIX SOQ.

         With respect to their CEA claim, Plaintiffs’ new theory that the post-2003 VIX formula

was intended to, and did, promote replication provides a legitimate explanation for the allegedly

manipulative trading patterns in the SOQ. To evaluate a possible disciplinary action, Cboe would

need to distinguish legitimate replication market activity from allegedly manipulative conduct—

requiring discretion. Plaintiffs therefore must meet the CEA’s heightened bad-faith standard,

which they have not. Moreover, Plaintiffs have not pleaded that they were injured by Cboe’s

failure to enforce rules (as opposed to Cboe’s design choices or the alleged manipulation itself).

         Finally, Plaintiffs fail to plead manipulation by anyone, a predicate for all their claims.

         For all these reasons, Plaintiffs’ amended complaint should be dismissed with prejudice.

                                            ARGUMENT

I.       Plaintiffs’ Claim Based on Rule 10b-5 Should Be Dismissed With Prejudice.

         The Court should dismiss Plaintiffs’ Rule 10b-5 claim because they have not adequately

alleged scienter, loss causation, or any actionable conduct within the repose period.

         A.     Plaintiffs Have Not Adequately Alleged Scienter.

         For several reasons explained below, Plaintiffs have not “state[d] with particularity facts

giving rise to a strong inference” of scienter. 15 U.S.C. § 78u-4(b)(2)(A).


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                 1.      Plaintiffs’ Motive-and-Opportunity Scienter Theory Is Insufficient as a
                         Matter of Law.

          The fundamental problem with Plaintiffs’ scienter case is that it is nothing more than a

motive-and-opportunity case, which is insufficient under Seventh Circuit precedent. Plaintiffs do

not offer any particularized allegations about anything that happened within Cboe. There are no

confidential witnesses or internal documents. The dates and places of the alleged fraud are not

identified; nor is the specific VIX SOQ trade activity conducted by the alleged fraudsters. Instead,

Plaintiffs proffer aggregate data generated by statistical models created by their experts that

purport to identify patterns of alleged fraud; observe that Cboe has a profit motive; and therefore

attempt to infer that someone at Cboe must have been reckless. This is insufficient as a matter of

law to state a claim. Makor Issues & Rights, Ltd. v. Tellabs, Inc., 437 F.3d 588, 601 (7th Cir.

2006) (“Tellabs I”), vacated on other grounds, 551 U.S. 308 (2007); MTD 8-10.

          Plaintiffs argue that they are not pleading scienter based on motive and opportunity because

“the AC is replete with allegations showing Cboe’s knowledge and circumstantial evidence of its

misconduct.” Pls.’ Opp’n to Cboe’s MTD Amended Compl., ECF No. 281 (“Opp.”) 20 n.11. It

is not.      Plaintiffs’ “allegations showing Cboe’s knowledge” consist of allegations that

manipulation was purportedly occurring together with the guess that Cboe must have known about

it. In the first instance, Plaintiffs’ allegation regarding aggregated trade data after VIX derivatives

were launched does not—and cannot—show anything about Cboe’s state of mind when designing

the SOQ years earlier. And the alleged “circumstantial evidence of [Cboe’s] misconduct” after

the SOQ design is pure motive-and-opportunity reasoning. Plaintiffs allege that Cboe had the

profit motive to allow the manipulation to continue. They further allege that Cboe had the

opportunity to stop manipulation and did not. Plaintiffs therefore infer that Cboe had the scienter

to commit securities fraud. Tellabs I holds that under the PSLRA, this is not enough.



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       The sole allegation that Plaintiffs could claim arguably sheds light on the mental state of

any Cboe decisionmaker is so weak that it only underscores why Plaintiffs’ claim fails. Plaintiffs

refer to a YouTube video involving a trader—not a Cboe employee—who allegedly is a former

member of Cboe’s “Product Development Committee.” Opp. 19; see Compl. ¶ 81 & n.15. But as

Cboe explained (MTD at 59-60), in this video, the trader makes the unremarkable point that the

settlement value can go down or up depending on whether traders buy or sell SPX Options, and

presents this activity as an obvious consequence of the publicly available VIX formula used in the

SOQ. This video contradicts Plaintiffs’ theory that “manipulation” was occurring and that Cboe

thought it had something to hide.

       Even if motive-and-opportunity allegations were legally sufficient to state a claim,

Plaintiffs’ “motive” allegations would be insufficient to meet the standard. Plaintiffs allege that

within the limitations period, Cboe “refused to change the SOQ process” because it wanted to

generate “additional fees” and avoid “crash[ing] CBOE’s stock price.” Compl. ¶¶ 173-174. These

generic allegations are insufficient to plead a motive to commit fraud. Pension Tr. Fund for

Operating Eng’rs v. Kohl’s Corp., 895 F.3d 933, 939-40 (7th Cir. 2018) (holding that a

“generalized motive common to all corporate executives is not enough to establish scienter”).

       Plaintiffs respond that in Kohl’s, the plaintiffs pleaded prior accounting errors that were

“dissimilar with the complained-of accounting error,” while here, the SEC “fined Cboe millions

of dollars for putting its business interests ahead of its regulatory obligations.” Opp. 33-34 nn.24-

25. This non-sequitur does not respond to the point that Plaintiffs improperly rely solely on Cboe’s

profit motive. Moreover, Plaintiffs are relying on allegations that Cboe was disciplined regarding

an unrelated failure to enforce a different regulation in a separate matter having nothing to do with

VIX derivatives. See Compl. ¶¶ 193-199. As in Kohl’s, those two incidents are not “so alike as

to make the recklessness inference at least as compelling as any other.” 895 F.3d at 939.


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       Yet another flaw in Plaintiffs’ argument is that they do not adequately allege the motives

of any particular Cboe officer responsible for the alleged fraud. Under Seventh Circuit precedent,

Plaintiffs must adequately allege the motive of a particular corporate official, rather than referring

“generally to the collective knowledge of all the corporation’s officers and employees acquired in

the course of their employment.” Pugh v. Tribune Co., 521 F.3d 686, 697 (7th Cir. 2008). In the

Court’s prior order, the Court concluded that “it can be inferred that someone in Cboe’s

management knew about the manipulation and authorized the continued offering and advertising

of the VIX.” Court’s Mem. Op. and Order granting Cboe’s MTD, ECF No. 245 (“Op.”) 21. But

the Court also held that alleging mere knowledge of manipulation is insufficient to state a claim.

Op. 21-22. As such, Plaintiffs bear the burden of pleading that that person—the individual in

“Cboe’s management [that allegedly] knew about the manipulation and authorized the continued

offering and advertising of the VIX”—had the intent to defraud. Op. 21.

       Plaintiffs seek to do so by relying on allegations that Cboe, the company, was reckless

when it “changed the VIX formula” in 2003, which is outside the repose period, and during the

repose period by refusing “to modify [the] calculation.” Compl. ¶ 69. That is not enough.

Plaintiffs must plead that a person who allegedly refused to modify the calculation within the

repose period had the requisite scienter. Here, Plaintiffs say nothing showing that a Cboe officer

responsible for the alleged fraud in 2014 had any connection to the people who designed the SOQ

in 2003 or any other way of knowing about the alleged flaws in the VIX formula.

       Plaintiffs refer to Cboe’s argument on this point as a “flailing attempt around the Court’s

order.” Opp. 30. It is not. Cboe is not quarreling with this Court’s conclusion that Plaintiffs have

pleaded that someone in Cboe management was aware of manipulation and authorized the

continued offering and advertising of the VIX. Rather, Plaintiffs must plead that the person in

Cboe management who did that within the putative class period was reckless. Under Pugh,


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Plaintiffs cannot aggregate the state of mind of a Cboe officer who allegedly was aware of

manipulation during the putative class period with the state of mind of a different hypothesized

Cboe officer who was responsible for designing the VIX formula, and was aware of its alleged

latent flaws. Plaintiffs bear the burden of pleading, with particularity, facts that raise a strong

inference that the requisite scienter resides in at least one specific person at the company (even

though they do not have to identify that person by name), and they provide no such allegations.

               2.      Plaintiffs Have Not Plausibly Alleged Any Motive to Commit Fraud.

       Plaintiffs also have pleaded themselves out of court because their core theory—that Cboe

knew that purported manipulation would be a side-effect of promoting legitimate “replication”—

is legally insufficient to plead scienter and so implausible that it cannot state a claim.

                       a) Plaintiffs’ “Replication” Theory Confirms That They Do Not Plead a
                       Strong Inference of Scienter.

       Plaintiffs and Cboe share important common ground. First, replication—“the ability to

accumulate a portfolio of the components of an index in the same proportion that each component

is represented in the index”—is “important, particularly for liquidity providers, because it allows

for market participants to offset directional risk.” Compl. ¶ 66. Second, under the pre-2003

formula for the VIX index, replication would have been effectively impossible. Compl. ¶ 67-68

(“If the original VIX formula were used for settlement of VIX products, liquidity providers would

have found it very expensive, if not impossible, to reliably ‘replicate’ their [expiring] VIX risk . .

. .”). Third, this would have provided a disincentive for trading in VIX derivatives. Compl. ¶ 66

(in a market that is “less liquid,” “retail or other volatility market investors would be less inclined

to trade in VIX products . . . .”). Fourth, Cboe’s reason for increasing the number of SPX Options

series that factored into the VIX, and using that expanded range for the SOQ, was to increase

replicability. Compl. ¶ 71 (“CBOE made this change after consulting key market participants and

being told that it needed to make the VIX ‘replicable.’”). Fifth, Cboe’s change accomplished the

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desired result. Id. (“By basing the SOQ process on a maximum of 130 SPX Options series, CBOE

greatly increased the ability of liquidity providers to replicate the settlement value.”). Sixth, there

is nothing wrong with changing the formula to facilitate replication. Opp. 20 (“[I]t is not Plaintiffs’

position that enabling ‘replication’ is malfeasance in and of itself.”).

       Yet, Plaintiffs claim that because Cboe should have known that manipulation might occur

as a side effect of replicability, Cboe committed securities fraud: “But where an exchange makes

design choices knowing the resulting flaws would exponentially increase the chance of

manipulation that is fraud.” Id. Cboe denies that the ability to replicate makes manipulation more

likely, infra at Part I.A.2.a, and also denies that Plaintiffs have pleaded that Cboe was reckless,

infra at Part I.A.2.b. Regardless, making design choices for legitimate reasons—while knowing

that these choices would “increase the chance” of manipulation by third parties—is not fraud. In

fact, it not enough to plead aiding-and-abetting scienter. As this Court has noted, that standard

provides that it is not enough that the defendant “knew of the principal’s intent to violate the act.”

Op. 28-29. Rather, the plaintiff must plead that the defendant “intended to further that violation.”

Id.

       To avoid this problem, Plaintiffs insist that they are not bringing an aiding-and-abetting

claim, but are challenging what they characterize as “Cboe’s own wrongdoing”: Cboe allegedly

“promoted, listed, and administered flawed products; expanded its product offerings; and on a

daily basis refused to alter the SOQ process despite knowing of its fundamental flaws.” Opp. 49.

But those allegations share an important characteristic of aiding-and-abetting cases: the conduct

that harms the defendant (here, the alleged manipulation) is done by a third party. Plaintiffs

contend that Cboe’s conduct facilitated that manipulation—similar to an aiding-and-abetting case.

And it is a fundamental legal principle that a defendant is not liable based on mere knowledge of

third party misconduct when the defendant did not intend that misconduct. That principle applies


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whether Plaintiffs style the claim as one of primary or secondary liability.

         It is no answer for Plaintiffs to emphasize that recklessness is sufficient to establish scienter

under Rule 10b-5. Opp. 19-21. This case involves a unique type of scienter—scienter of

manipulation by third parties. And in that context, as the Court has held, mere recklessness as to

the prospect of third party misconduct is not enough. Op. 24. As a general matter, knowledge—a

higher standard than recklessness—is a sufficient basis for pleading scienter. But the Court has

already held that the type of knowledge that Plaintiffs allege—knowledge that other people are

manipulating—is not enough. Op. 24 (“Cboe’s knowledge of the Doe Defendants’ manipulation

is not enough to infer that Cboe acted with the requisite intent for its conduct.”).

         While Cboe disagrees with the holding in Plaintiffs’ lead authority—In re Barclays

Liquidity Cross & High Frequency Trading Litigation, 390 F. Supp. 3d 432 (S.D.N.Y. 2019)—the

allegations in Barclays demonstrate why Plaintiffs have not shown scienter here. In that case, the

exchanges allegedly collaborated with the manipulators—allegedly developing order types “for

and at the behest of their preferred HFT customers.” Id. at 451 (internal quotation marks omitted).

And the exchanges allegedly withheld information from others: it is alleged that they “deliberately

kept [investors] in the dark as to the existence and full functionality of one complex order type.”

Id. (internal quotation marks omitted). Those allegations are that the defendants were advancing

manipulation, not that they merely could have predicted it. Here, there is no allegation of

collaboration,1 or that Cboe secretly fed any information to anyone. Rather, the allegation is that

Cboe created the SOQ—based on a public formula—while allegedly aware that there was a chance



1
  Plaintiffs refer vaguely to “special privileges to select market participants” (Opp. 22), citing
Paragraphs 14, 148, 317 of their Complaint. But Paragraphs 14 and 317 also are vague, and
Paragraph 148 contains only a reference to “market makers” that “have preferential trading
powers.” But Plaintiffs do not allege that market makers are the manipulators and offer no
argument as to how “steep discounts” are connected to the purported manipulation.

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manipulators could take advantage of it. That is not securities fraud.

                         b) Plaintiffs’ Scienter Case Is Illogical.

          Even if Plaintiffs could plead scienter based on recklessness as to manipulators’ actions,

Plaintiffs’ claim would fail because it is profoundly illogical and fundamentally implausible.

          First: Plaintiffs’ theory starts from the premise that Cboe expected manipulation to

continue unabated. But why? Why would Cboe not instead exercise its regulatory authority in an

effort to surveil for and prevent manipulation, so that it could profit from its “crown jewel”?

Compl. ¶ 175; see Bosco v. Serhant, 836 F.2d 271, 279 (7th Cir. 1987) (“[I]t would be most

unlikely for the Exchange to want to help a[n intermediary] defraud his customers, for scandals

such as [a fraud] can only hurt the Exchange.”). Plaintiffs’ response is that the “risk of discovery

of manipulation was low” because Cboe could not have anticipated that others would be able to

unmask the fraud. Opp. 32. But this does not explain why Cboe would have run any risk of

discovery, rather than police alleged manipulation. Crucially, Plaintiffs do not allege that Cboe

benefited from manipulation in some special way other than the benefit Cboe would receive from

other trades. The Court identified this same defect in its prior order: “Though the VIX franchise

was an important source of profit for Cboe, the manipulation itself was not. Plaintiffs have not

alleged that Cboe benefitted in any additional way by attracting the business of market makers.”

Op. 22.

          Plaintiffs resist the premise of the Court’s ruling: “under this logic, no exchange could

ever be shown to have had an improper motive—trading volume is, of course, how exchanges

make money.” Opp. 32. Plaintiffs are wrong. There are many ways of showing an improper

motive.      Plaintiffs could plead that Cboe insiders personally traded and benefited from

manipulation. Or they could plead that Cboe actually was collaborating with the manipulators.

None of these allegations are pleaded.


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       Another problem with Plaintiffs’ claim is that the aspect of the VIX that allegedly made it

prone to manipulation—the use of a large number of securities—was the very feature of the VIX

that led Cboe’s two regulators to conclude that it would not be prone to manipulation. This bears

repeating: The CFTC and SEC jointly concluded that VIX Futures “should not be readily

susceptible to manipulation” on the ground that the VIX Index was not a “narrow-based security

index,” i.e., an index based on a small number of component securities. See Joint Order Excluding

Indexes Comprised of Certain Index Options From the Definition of Narrow-Based Security Index

Pursuant to Section 1a(25)(B)(vi) of the Commodity Exchange Act and Section 3(a)(55)(C)(vi) of

the Securities Exchange Act of 1934, 69 Fed. Reg. 16900-01 & n.7 (Mar. 31, 2004). Plaintiffs

cannot seriously claim a “strong,” or even plausible, inference that Cboe performed an incredible

feat: using a formula with a feature that presents allegedly blatant risks of manipulation, presenting

the allegedly risky feature of the formula to two regulators, arguing that the feature actually made

it not risky, and then winning regulatory approval.

       Yet another problem for Plaintiffs: The design of the SOQ is publicly available. Plaintiffs

quote it in the complaint. Compl. ¶ 86. Unlike in Barclays, on which Plaintiffs rely heavily (supra

at Part I.A.2.a), Plaintiffs do not suggest that Cboe passed any secret information to the alleged

manipulators. Thus, Plaintiffs’ claim requires believing that: (1) would-be manipulators would

detect the potential for manipulation in the SOQ’s public design, and therefore come to Cboe’s

exchange in droves, thus allowing Cboe to earn profit from trading fees while Cboe turned a blind

eye to manipulation, but (2) other would-be market participants would not detect the potential for

manipulation in the same public information, and therefore would also come to Cboe’s exchange

in droves to serve as the unwitting victims of the alleged manipulation.

       Plaintiffs do not dispute that their theory depends on this implausible premise. Rather, they

assert that the complaint pleads facts that allowed Cboe “to pull off the supposedly ‘impossible’


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feat.” Opp. 33. And what are those facts? Data in “extensive allegations demonstrating the

existence of manipulation,” plus “no public suggestion that such manipulation was occurring for

more than a decade after data suggests such manipulation began.” Id. Thus, Plaintiffs’ response

to Cboe’s showing that Plaintiffs’ claim depends on a remarkably unlikely set of inferences boils

down to: “Our experts’ models show there was manipulation, so Cboe must have been reckless

about it.” This is not enough to plead scienter.

                       c) Plaintiffs’ Additional Scattershot Allegations Do Not Assist Their Case.

       Plaintiffs argue that “Cboe was monitoring the data coming from the products it designed

and administered, and thus knew immediately and intimately” of alleged manipulation. Opp. 23.

However, Plaintiffs offer no particularized allegations that anyone at Cboe knew anything. Rather,

they proffer aggregate data from multiple models invented for this litigation that are supposedly

consistent with manipulation, and then speculate that because Cboe had access to data, it must have

known something was going on. This is not particularized evidence of Cboe’s scienter.

       Plaintiffs also argue that “Cboe itself used similar data patterns in other contexts to

conclude manipulation had taken place.” Opp. 24. Again: If Cboe were conducting a multi-year

conspiracy to conceal manipulation, why risk exposing it in disciplinary actions? The stronger

inference is that Cboe took action when it saw misconduct, and that it did not see it here.

       Plaintiffs claim that “Cboe benefitted from a 753% increase in fees during the SOQ

window by using the changed formula.” Compl. ¶¶ 153-156 (emphasis omitted). Plaintiffs admit

that this calculation compares actual fees earned to a projection of what Cboe allegedly would

have earned if trading from 2007 to 2018 had been based on the pre-2003 formula (when trading

in VIX derivatives did not exist). Opp. 26-27. But Plaintiffs’ comparison ignores the underpinning

of their case—that Cboe changed the VIX formula because derivatives would not have been

replicable under the pre-2003 formula and therefore would not have been a viable product. Compl.


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¶ 68. So Plaintiffs’ claim about increased fees boils down to this: Cboe committed fraud because

it is making more money with the current VIX formula than with a different formula under which

trading VIX derivatives would have been effectively impossible.

       Equally unpersuasive is Plaintiffs’ theory that on days when there was a higher degree of

“deviation”—the difference between the VIX value resulting from the SOQ process and the level

of the spot VIX index upon market opening, Compl. ¶ 146 n.39—there was a higher trade volume,

and hence more profits for Cboe. Compl. ¶¶ 157-159. Plaintiffs’ allegations amount to nothing

more than the unremarkable proposition that when there were more trades, Cboe made more

money. Plaintiffs do not offer a clear explanation of why this shows scienter.

       Plaintiffs also make the puzzling assertion that Cboe was publicly touting a trading

opportunity arising from the difference between the SOQ settlement price and the prices for SPX

Options at the open of trading after the SOQ, Compl. ¶¶ 164-166, and that this is somehow

additional evidence of scienter. Opp. 28-29. If Cboe were hiding manipulation, why would it

publicly tout the very price differences that Plaintiffs claim are the smoking gun of manipulation?

The far stronger inference is that Cboe was not hiding anything.

       The remaining allegations are examples of Plaintiffs’ style of attributing malice to anything

Cboe does or does not do. When Cboe does police manipulation, this shows scienter because it

shows Cboe’s awareness. Opp. 24 (“Cboe itself used similar data patterns in other contexts to

conclude manipulation had taken place”). But when Cboe does not police manipulation, this is

part of the plan to keep it under wraps. Opp. 32 (the “risk of discovery of manipulation was low

because Cboe . . . did not mount enforcement actions”). When Cboe does change its settlement

rules, this is a sign that Cboe knew of those rules’ defects. Opp. 31 (the fact that Cboe took steps

to alter the SOQ “confirm[s]” that Cboe previously took the concept of replication to “reckless

extremes”). When Cboe does not change its settlement rules, it is to preserve its illicit profits.


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Opp. 49 (Cboe “on a daily basis refused to alter the SOQ process despite knowing of its

fundamental flaws”). Cboe’s restriction of access to relevant data is a sign of fraud, Opp. 22-23,

but so is Cboe’s publication of data demonstrating spreads between the spot VIX and settlement

values, Opp. 28-29. When everything is a sign of fraud, nothing is. Plaintiffs have not pleaded a

strong inference of scienter.

       B.      Plaintiffs Fail to Plausibly Allege Loss Causation.

       The Court should adhere to its prior decision that Plaintiffs have not pleaded loss causation.

               1.      Plaintiffs’ “Appendix” Is Improper.

       The Court’s prior order explains that to state a claim, Plaintiffs must plead two pieces of

information. Plaintiffs “must identify both sides of a transaction to show that they suffered a loss,”

Op. 18, and must identify the direction of manipulation. “To plead loss causation, plaintiffs must

identify specific transactions where they lost money, either because they experienced a net loss or

because they made less than they would have absent manipulation.” Opp. 18-19. As Cboe’s

motion explained, the complaint is deficient on both scores. MTD 31-33, 36-38.

       Plaintiffs respond by attaching a 36-page “appendix” containing extensive allegations that

do not appear in the complaint. The appendix is improper and the Court should disregard it. “It

is a basic principle that the complaint may not be amended by the briefs in opposition to a motion

to dismiss.” Agnew v. NCAA, 683 F.3d 328, 348 (7th Cir. 2012) (internal quotation marks and

alteration omitted). Plaintiffs’ “appendix” is a backdoor attempt to amend the complaint and an

implicit admission of the pleading defects Cboe identified.

       Because Plaintiffs have already filed one amended complaint, Plaintiffs require leave of

court to file a second amended complaint. See id.; Fed. R. Civ. P. 15(a). It is far from clear that

the Court would grant the motion. Although “[t]he court should freely give leave when justice so

requires,” Fed. R. Civ. P. 15(a)(2), this case is extraordinary: the Court specifically identified the


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information that Plaintiffs had to include in their complaint in its prior order, and Plaintiffs

inexplicably declined to include the information the Court stated was required. The Court should

therefore disregard the appendix and dismiss the complaint.

                 2.    Plaintiffs Fail to Plead Loss Causation for Persons Who Held VIX Options
                       to Settlement.

        In any event, the new allegations in the appendix fail to plead loss causation.

                       a) Plaintiffs Fail to Plausibly Plead Loss Causation for Any Person who
                       Held VIX Options to Settlement.

        With respect to persons who held VIX Options to settlement, Plaintiffs’ loss causation

theory has two premises. The first premise: When the settlement value for VIX derivatives

generated by the SOQ deviates from the next opening spot VIX index value by an unknown amount

(either up or down) that Plaintiffs deem sufficient, this means that the settlement value was

manipulated. Compl. ¶ 73 (“The deviation, which is calculated as the difference between the

settlement price of VIX and the opening price of VIX just seconds later, is a measure of the

artificiality of the VIX settlement.”).

         But this information, alone, is not enough to plead loss causation, even for a person who

held a derivative to settlement in a purportedly manipulated SOQ. This is so because the mere

showing of a differential between the settlement value and the spot VIX does not show whether

the settlement value, or the spot VIX value, is an accurate estimate of expected volatility.

Moreover, even if the settlement value were manipulated, under Plaintiffs’ “lasting-impact” theory

the alleged SOQ manipulation also may have affected the amount previously paid to enter the

position on a non-settlement day—yielding no net harm. Op. 18 (“Inflated prices do not harm

buyers unless there is a subsequent price drop, so trading at an inflated price does not necessarily

result in a loss.”).




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       To avoid these problems, Plaintiffs must adopt a second premise: that the spot VIX is the

gold standard and does not reflect manipulation. Plaintiffs are extremely clear about this: “by

definition, under the presumption that a manipulated SOQ only impacts that SOQ, it is not possible

for a Plaintiff’s instrument to be impacted at any other time other than the date of settlement.”

Opp. 37. Taking these two premises together, Plaintiffs theorize that anyone who holds a position

in the opposite direction from the purported manipulation during the SOQ has pleaded loss

causation arising from the purported manipulation.

       As shown below, Plaintiffs have not plausibly pleaded either premise.

                               (i)    Plaintiffs Fail to Plausibly Plead Losses from Alleged
                               Manipulation by Merely Alleging a Difference Between the
                               Settlement Value and the Spot VIX Index.

       The inputs used to calculate the spot VIX index differ from the inputs used to calculate the

SOQ: “the intraday VIX is derived from the midpoint of bid and ask premiums of SPX Options,

whereas the settlement calculations use actual traded prices where possible.” Compl. ¶ 57 n.6. So

it should not be a surprise if the outputs are different. The inputs are different due to a dynamic

common to all markets: the price at which a market participant initially offers to buy or sell a

product—here the midpoint of the bid and ask for SPX Options used to calculate the spot VIX—

often differs from the price upon which a buyer and a seller ultimately agree—here the actual

prices for SPX Options traded during the SOQ, which are used to calculate the settlement value.

Plaintiffs claim that “the formula to calculate both the spot VIX index and the SOQ are identical[.]”

Opp. 27. But different inputs into the VIX formula produce different outputs.

       Moreover, this difference is not a hidden feature of the VIX. Cboe publishes the formula

and inputs for the spot VIX and the SOQ. Anyone who has ever bought any VIX derivative and

holds it to settlement is on notice that the values can and do differ. Anyone who has participated

in multiple settlements will notice that the amount of the difference varies between settlements.

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       And, Plaintiffs do not identify how any particular settlement was “manipulated” by any

particular mechanism. They hypothesize two general possible mechanisms, see Compl. ¶¶ 76-82

(“banging the close”), ¶¶ 83-89 (manipulating the two-zero bid rule), without taking any firm

position on which was employed and when. They simply suggest that “deviations” must mean

manipulation, somehow by some means.

       Thus, this is a classic case for the application of Twombly. Twombly holds that there is a

“need at the pleading stage for allegations plausibly suggesting (not merely consistent with)”

liability. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007). At best, Plaintiffs’ allegations

that they held derivatives on days where there was a “deviation” is “consistent with” liability. But

it does not plausibly suggest liability. The fact that a formula, calculated with different inputs,

produces different outputs, does not plausibly suggest that any traders participating in such SOQs

are the victims of manipulation.


                               (ii)  Plaintiffs Fail to Plausibly Plead Loss Causation Because
                               They Impermissibly Allege that the Spot VIX Value Reflects
                               Manipulation and Does Not Reflect Manipulation.

       As to Plaintiffs’ second premise, that the spot VIX is the gold standard, the problem with

Plaintiffs’ case is that they adopt the opposite premise with regard to the VIX derivatives not held

to settlement. See MTD 35-36. Plaintiffs maintain that they have pleaded loss causation for claims

involving securities held to settlement, precisely because of their premise that the spot VIX was

the gold standard. But the same Plaintiffs simultaneously argue that the spot VIX was manipulated

for purposes of their own claims regarding VIX derivatives not held to settlement. Id.

       Plaintiffs do not dispute that their arguments contradict. Instead they characterize them as

“allegations made in the alternative.” Opp. 43-44. Plaintiffs cannot defend their claim on this

ground. Plaintiffs can make alternative arguments, but they cannot pursue a single claim premised



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on the assertion that the same fact is simultaneously true and untrue. See Allied Vision Grp., Inc.

v. RLI Prof’l Techs., Inc., 916 F. Supp. 778, 782 (N.D. Ill. 1996) (“Rule 8(e)(2) allows

inconsistency between claims, not inconsistency within a single . . . claim.”). That is exactly what

Plaintiffs attempt here: They bring a single Rule 10b-5 claim, in which Plaintiffs seek to recover

the sum of damages incurred from alleged manipulation of the spot VIX and alleged manipulation

of the VIX SOQ, which requires that the spot VIX both was affected by manipulation and was not

affected by manipulation. Plaintiffs may not legally do that.

                       b) At a Minimum, Plaintiffs Lack Standing to Pursue Claims on Behalf of
                       Putative Class Members Who Traded on Unidentified Settlement Days.

       At a minimum, if the Court permits Plaintiffs to amend their complaint via their

“appendix,” it should hold that those new allegations constrain the scope of Plaintiffs’ claims—

which would require narrowing them considerably. Plaintiffs’ appendix identifies only nineteen

settlement days that were purportedly tainted by manipulation, nine of which are in 2012 and 2013,

outside the statute of repose. Yet the putative class includes, among others, anyone who held any

VIX derivative to settlement on any settlement day during the putative class period. Compl. ¶¶

303-310. The complaint should be dismissed with respect to anyone other than the named

plaintiffs and putative class members who have properly pleaded loss causation—that is, people

who held derivatives in the opposite direction from the alleged manipulation on the particular

settlement days identified in the appendix.

       This is a pleading issue. In Retirement Board of the Policemen’s Annuity & Benefit Fund

v. Bank of New York Mellon, 775 F.3d 154 (2d Cir. 2014), the Second Circuit held that a plaintiff

filing a class complaint must show class standing at the motion to dismiss stage. This requires a

showing that “the named plaintiff may properly assert claims” on behalf of absent class

members—which is “distinct from the criteria that govern whether a named plaintiff is an adequate

class representative under Rule 23(a).” Id. at 161. The plaintiffs had invested in certain trusts in

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which the defendant bank was the trustee; they sought to assert class claims on behalf of absent

class members who had invested in different trusts. The court held that the plaintiffs lacked

standing because the bank’s “alleged misconduct must be proved loan-by-loan and trust-by-trust.”

Id. at 162. The court rejected the plaintiffs’ argument that they could use “statistical sampling to

show that loans in all of the trusts were defective.” Id. It reasoned that the plaintiffs may have

had a personal interest in proving fraud in connection with their trusts; but they lacked a “personal

stake” in proving fraud with respect to the other trusts. See id. at 162-63.

       Identical reasoning applies here. Every settlement day involves the settlement of different

securities—VIX Options that expire on different days and whose value is based on the expected

volatility of the S&P 500 over different time periods. Plaintiffs do not even attempt to plead loss

causation for more than a handful of settlement days. Therefore, regardless of the allegations’

sufficiency, Plaintiffs lack standing to represent absent putative class members who transacted in

different securities—VIX Options with different expirations—that settled on different days.

               3.      Plaintiffs Fail to Plead Loss Causation for Persons Who Bought VIX
                       Options, But Did Not Hold Them To Settlement.

       Plaintiffs include within the putative class persons who traded in VIX Options but did not

hold them to settlement, as well as persons who traded in SPX Options—which never settle using

the VIX SOQ. The Court has already held that these claims failed to plead loss causation: “[T]o

the extent any plaintiff class members did not hold their options through settlement, their loss is

even less directly linked to the SOQ manipulation, and plaintiffs have not alleged loss causation

as required to state a claim.” Op. 19. The Court should adhere to that conclusion.

                       a) Plaintiffs’ Claim Should Be Dismissed With Respect to All Persons Who
                       Did Not Hold VIX Options To Settlement.

       In Harry v. Total Gas & Power North America, Inc., 889 F.3d 104 (2d Cir. 2018), the court

addressed a manipulation claim where, as here, the plaintiffs alleged that manipulation of one


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contract affected prices for a different contract where there was no formal rule-based price linkage

between the contracts. The court held that the plaintiff must show a “tangible mechanism whereby

a defendant’s trading affects [the plaintiff] more than marginally.” Id. at 113.

       Here, Plaintiffs have identified no such tangible mechanism. Plaintiffs allege that “the

prices of VIX Options . . . move similarly across tenors in response to movements in the VIX

itself.” Compl. ¶ 268. Of course, as noted above, the starting premise of Plaintiffs’ own loss-

causation theory with respect to derivatives held to settlement is that the spot “VIX itself” is not

the product of manipulation. That contradiction alone requires dismissal of Plaintiffs’ claim.

       Separately, Plaintiffs have not explained how movements in the spot VIX itself that

allegedly caused a loss resulted from prior manipulation in the SOQ. Plaintiffs cite the “efficient

market hypothesis,” in which “information remains ‘baked into’ the price,” such that “securities

claims are accordingly not limited to purchases and sales made in the exact minute a misleading

statement is made, but rather are routinely allowed for transactions occurring long after.” Opp.

41. Plaintiffs explain: “trades convey information that is incorporated into prices going forward.”

Id. But this theory misunderstands how VIX Options work.

       Obviously, the price of a security will “bake in” public information about that same

security, and trading on a security at an earlier time may affect the price of that security at a later

time. However, here Plaintiffs are making the very different argument that the settlement price of

one security (a VIX Option expiring on one date) affects the price of a different security (a VIX

Option expiring on a different date). Plaintiffs do not explain why that would be, and it is not

obvious. In any SOQ, the settlement value for the expiring VIX Options is based on the expected

volatility of the S&P 500 over the next 30 days. Compl. ¶¶ 49, 51. Those VIX Options go away

after settlement. Different VIX Options are traded after that SOQ, which expire in later weeks or

months and derive their value from the expected volatility of the S&P 500 over different time


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periods. Information about the settlement price for a security reflecting expected volatility over

one time period cannot be asserted to affect the price of a different security priced on the expected

volatility over a different time period. Merely adverting to the fact that markets are “efficient” is

insufficient to overcome a motion to dismiss.

                       b) At a Minimum, Plaintiffs’ Claim Should Be Dismissed With Respect To
                       Persons and Putative Class Members Who Have Not Pleaded Loss
                       Causation.

       As Cboe’s motion explained, with respect to any holder of VIX Options who did not hold

an option to settlement, the complaint plainly did not include the specific information that this

Court held was necessary to allege loss causation. MTD 36-38.

       Plaintiffs seek to rectify that pleading defect via their appendix. But most of the allegations

in the appendix do not comply with this Court’s instructions in its prior order. The Court held that

Plaintiffs “must identify both sides of a transaction to show that they suffered a loss.” Op. 18.

This is because “[i]nflated prices do not harm buyers unless there is a subsequent price drop, so

trading at an inflated price does not necessarily result in a loss.” Id. This reasoning plainly applies

to Plaintiffs’ “lasting-impact” claims, in which both the opening and the closing of a position may

have been tainted by the purported “lasting impact” of alleged manipulation in the SOQ. Yet most

allegations in the appendix do not identify both sides of the transaction; they simply state the price

at which the plaintiff exited the position. See, e.g., Appendix-1 (“January 31, 2014 refers to sales

of 170 VIX call options expiring on February 19, 2014, with a strike price of 17, which were

adversely impacted when the lasting impact of manipulation suppressed the VIX as of that day”).

       Yet Plaintiffs seek to assert class claims on behalf of anyone who held any VIX derivative

position at any time. As explained above, Plaintiffs lack class standing to assert claims on behalf

of holders of securities positions who do not plead loss causation. Thus, at a minimum, the




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complaint should be dismissed with respect to claims of any persons who held positions in

securities other than those for which the appendix identifies both sides of the transaction.2

                4.     Plaintiffs Fail to Plead Loss Causation for Persons Who Bought SPX
                       Options.

         The complaint should be dismissed with respect to persons who traded in SPX options

because Plaintiffs have not offered any plausible account of how alleged manipulation in the VIX

SOQ could have harmed them. Plaintiffs assert: “Given it generally holds true that the price of

an option will increase/decrease when the implied volatility of the underlying asset

increases/decreases, and given the VIX is a measurement of the implied volatility of SPX Options,

anyone who traded in SPX Options will also have been harmed by movement of the VIX.” Compl.

¶ 268. This makes little sense. Why would alleged artificiality in a one-hour settlement window,

at most once a week, in a single VIX derivatives expiration, perpetually harm everyone who traded

in SPX Options, which never settle using the VIX SOQ, at all other times?

         Plaintiffs never answer this question; they simply advert to the “natural relationship

between these products.” Opp. 43. But the “relationship” is that the VIX is a measure of expected

volatility, calculated using the price of SPX Options. Plaintiffs do not explain how alleged

manipulation in the settlement process for VIX derivatives could possibly have harmed persons

who transacted in SPX Options, the prices of which are inputs into, not derived from, the value of

VIX derivatives.




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  To be clear, Cboe believes the complaint should be dismissed in its entirety. However, if the
Court disagrees, it should direct Plaintiffs to file an amended complaint that includes the subset of
the transactions from the appendix in which both sides are identified, and putative class claims no
broader than that. Cboe should also have the right to file a new motion to dismiss.

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          C.      Plaintiffs Plead No Non-Immune Conduct Within the Statute of Repose.

          Plaintiffs cannot withstand a motion to dismiss unless they can plead that Cboe engaged in

fraudulent conduct that violates Rule 10b-5, is within the statute of repose, and is not regulatory

conduct for which Cboe is immune from liability. Plaintiffs cannot rely on the design of the VIX,

which occurred well before the repose period (and which was approved by the CFTC and SEC);

nor can they rely on Cboe’s failure to enforce its rules, which is subject to regulatory immunity.

MTD 40-41. They have not identified any non-immune conduct occurring within the repose

period.

          Plaintiffs cast this argument as an effort to relitigate the Court’s prior order. Opp. 49. It is

not. Plaintiffs have filed a new complaint which adopts a new theory: that in 2003, Cboe realized

that the prior VIX formula could not be replicated, so Cboe devised a new formula to facilitate

replication and promote liquidity. But that theory turns on events outside the repose period.

          And within the repose period, Plaintiffs can muster allegations only that Cboe continued

to offer VIX derivatives, failed to change the SOQ, and published prices. Opp. 49. These are

classic aiding-and-abetting allegations, and the Supreme Court has ruled that only the SEC—not

private plaintiffs—can bring claims for aiding and abetting violations of the securities laws.

Stoneridge Inv. Partners, LLC v. Sci.-Atl., Inc., 552 U.S. 148, 163 (2008). To redefine Cboe’s

actions within the repose period as fraud would abolish that rule. Id. at 162-63.

II.       Plaintiffs’ CEA Claims Should Be Dismissed.

          As the Court previously held, Plaintiffs have failed adequately to plead loss causation under

the CEA. In addition, Plaintiffs have not adequately pleaded bad faith or secondary liability.

          A.      Plaintiffs’ Failure-to-Enforce Claim Should Be Dismissed Because Plaintiffs
                  Have Not Shown Actual Losses Caused by Cboe’s Alleged Failure to Enforce.

          The CEA provides that a “registered entity that fails to enforce any bylaw, rule, regulation,

or resolution” “shall be liable for actual damages sustained by a person who engaged in any

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transaction” “to the extent of such person’s actual losses that resulted from such transaction and

were caused by such failure to enforce or enforcement of such bylaws, rules, regulations, or

resolutions.” 7 U.S.C. § 25(b)(1). Plaintiffs have neither pleaded “actual losses that resulted from

such transactions,” nor that any losses were “caused by such failure to enforce[.]”

                1.      Plaintiffs Have Not Alleged “Actual Losses” That “Resulted From Such
                        Transaction.”

        For the reasons stated above with respect to VIX Options, Plaintiffs have not adequately

pleaded loss causation. Supra at Part I.B.2.a. As also is explained above, Plaintiffs’ “appendix”

should be stricken. Supra at Part I.B.1. Even if those allegations were considered, Plaintiffs have

failed to plead actual losses either with respect to Plaintiffs who held VIX Futures to settlement,

or with respect to Plaintiffs who did not hold VIX Futures to settlement. At a minimum, Plaintiffs

lack class standing to plead claims on behalf of those who transacted in VIX Futures for whom

Plaintiffs have not pleaded loss causation. Supra at Part I.B.2.b.

        Plaintiffs respond that relevant authority holds that they need not plead anything about loss

causation. Opp. 51-53. Plaintiffs mischaracterize those holdings. Courts have stated that “loss

causation principles were not applicable to a CEA claim involving a manipulative ‘bang the close’

trading strategy” based on an assumption that “once the manipulation ceases, the price of the

derivative will gradually return to its actual value,” making it “permissible to infer that the artificial

inflation will inevitably dissipate.” In re Crude Oil Commodity Futures Litig., 913 F. Supp. 2d

41, 60 (S.D.N.Y. 2012) (citation omitted); see also Kohen v. Pac. Inv. Mgmt. Co., 244 F.R.D. 469,

475 (N.D. Ill. 2007) (similar), aff’d, 571 F.3d 672 (7th Cir. 2009). However, the basis of Plaintiffs’

complaint is contrary to the assumption underpinning the reasoning in those cases. Plaintiffs allege

that manipulation in the SOQ had lingering effects that continued indefinitely, thus opening the

door to include every person who traded in a VIX derivative over a decade-plus stretch in the

putative class. They cannot do so without pleading actual losses. As the Court stated with respect

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to the CEA claim: “Without identifying both sides of a transaction, plaintiffs have not shown they

lost money and have not plausibly alleged they suffered actual damages. Because plaintiffs do not

assert that the market was constantly suppressed or inflated, their general allegations that they must

have been harmed at some point are insufficient to state a claim.” Op. 28. The CEA claims should

be dismissed.

                2.     Plaintiffs Have Not Alleged “Actual Losses” That Were “Caused by Such
                       Failure to Enforce.”

       Even if Plaintiffs had pleaded losses from manipulation, they have not pleaded the CEA’s

distinct requirement that the losses must have been “caused by such failure to enforce” a rule. The

problem for Plaintiffs is that an “inescapable rule of causality is that a cause must precede its

effect.” Troyer v. Nat’l Futures Ass’n, No. 1:16-cv-00146-SLC, 2019 WL 4695524, at *17 (N.D.

Ind. Sept. 26, 2019) (citation omitted). Thus, Plaintiffs must plead that the cause—“such failure

to enforce”—precedes the effect—their injury. But Plaintiffs do not plausibly plead that any

failure to enforce that preceded their alleged losses could have caused those losses. MTD 46-49.

For instance, Plaintiffs do not plausibly plead that any enforcement action against any particular

manipulator would have prevented that manipulator from engaging in a subsequent act of

manipulation that harmed Plaintiffs.

       In response, Plaintiffs claim: (1) “a demonstrably strong regulatory regime would have

helped prevent manipulation in the first place,” and (2) “an honest Cboe would not have forced

traders to settle based on calculations it knew to be rigged.” Opp. 53. As to the latter, Plaintiffs

appear to be arguing that Cboe should be liable under the CEA based on the allegedly flawed

design of the SOQ. But that is not a permissible basis for CEA liability; Plaintiffs must trace

liability to Cboe’s alleged failure to enforce anti-manipulation rules, not the SOQ’s design.

       As to the former: Plaintiffs’ theory appears to be that if Cboe had adopted a generally more

aggressive enforcement regime, and enforced its anti-manipulation rules against certain

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hypothetical John Doe manipulators, those other hypothetical enforcement actions would have

been successful and deterred possibly different John Doe manipulators from harming Plaintiffs.

This theory is far too speculative to withstand a motion to dismiss.

       Plaintiffs also assert: “Cboe’s approach would effectively nullify the CEA’s private right

of action, as it is obviously true of any manipulation that discrete disciplinary actions come after

the manipulative trades.” Opp. 54. Not so. CEA’s private right of action is designed for cases

where the plaintiff can trace an injury to a prior failure to enforce. In Bosco, for instance, a

fraudster had tricked the plaintiffs into continuing to invest in his fraudulent scheme by omitting

“customer designations” on trades and thereby obscuring the plaintiffs’ ongoing losses. 836 F.2d

at 273-74. The plaintiffs sued the exchange, arguing that if the exchange had enforced its rule

requiring customer designations for the fraudster’s trades, the fraud could not have continued and

their losses would have been averted. Id. at 277. In that scenario, the plaintiffs’ theory was that

the enforcement of the rule would have prevented the harm from coming about. Likewise, in

Troyer v. National Futures Ass’n, 290 F. Supp. 3d 874 (N.D. Ind. 2018), the court considered a

Section 22(b) claim based on the defendant’s alleged failure to enforce its membership criteria

with respect to a specific individual; the allegation was that had the rule been enforced, the

individual would have been prevented from soliciting funds and therefore could not have

defrauded the plaintiff of the specific sum that the plaintiff invested with him. Id. at 881-83.

Cboe’s point is not that “certain fact patterns are the only way to plead harm,” Opp. 54 n.53.

Cboe’s point is that the CEA requires that the failure to enforce a rule cause the harm. Plaintiffs

have not adequately pleaded this element.

       Moreover, Plaintiffs’ allegations are insufficient to plead proximate cause, as required by

the CEA, and in virtually every other area of law. See In re Foreign Exch. Benchmark Rates

Antitrust Litig., No. 13-cv-7789, 2016 WL 5108131, at *21 (S.D.N.Y. Sept. 20, 2016); Hemi Grp.,


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LLC v. City of N.Y., 559 U.S. 1, 10 (2010). Plaintiffs’ claim is that Cboe allegedly could have

indirectly caused the alleged manipulators to act differently by taking unspecified disciplinary

actions at an unspecified earlier time against unspecified and possibly different manipulators. This

connection between the alleged failure to enforce and the alleged harm is too attenuated to support

liability. Plaintiffs respond that “price artificiality” is “intimately intertwined with Cboe’s acts

and omissions as the creators and maintainers of the VIX franchise.” Opp. 55. This is an argument

that the allegedly defective design of the SOQ proximately caused harm. But that conduct cannot

be the basis for a Section 22(b) claim, which permits liability based on an exchange’s failure to

enforce rules in their capacity as regulators. Thus, Plaintiffs must show a proximate link between

Cboe’s failure to enforce anti-manipulation rules and Plaintiffs’ injury. They have not.3

         B.     Plaintiffs’ Failure-to-Enforce Claim Should Be Dismissed Because Plaintiffs
                Do Not Adequately Allege Bad Faith.

         The Court held that Plaintiffs’ prior complaint adequately pleaded bad faith. But Plaintiffs

have submitted a new complaint, and it must be analyzed on its own terms. Plaintiffs’ new

complaint introduces a new theory of the case: even if the SOQ was intended to, and did, promote

replication and hence liquidity, Cboe’s alleged expectation that the SOQ would also facilitate

alleged manipulation is sufficient to establish liability. As explained above, this new theory is

insufficient to plead scienter under Rule 10b-5. Supra at Part I.A. And this new theory also

demonstrates that Cboe did not exhibit “bad faith” within the meaning of the CEA.

         The Court previously concluded that, based on the allegations in the prior complaint, “Cboe

points to nothing in the text of Rules 601 or 603, or elsewhere, showing that their enforcement is

discretionary[.]” Op. 27. The separate issue raised by Plaintiffs’ new allegations is whether, in


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  Plaintiffs’ failure-to-enforce claim with respect to all Cboe Defendants except Cboe Futures
should also be dismissed on the ground that those Cboe Defendants are not “registered entit[ies]”
under 7 U.S.C. § 25(b). See MTD 43 n.7.

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applying those anti-manipulation rules to SOQ market activity, Cboe must exercise discretion to

determine if there is legitimate trading that explains the observed activity.           As Plaintiffs

acknowledge, there is a legitimate motive for trading in out-of-the-money options during the SOQ:

replication. So to initiate an enforcement action, Cboe must distinguish legitimate trades from

allegedly manipulative trades—a difficult analysis that cannot be done mechanically. This

requires discretion—and so the CEA’s ordinary bad-faith standard applies. MTD 49-53.

       Plaintiffs accuse Cboe of relitigating an issue that was resolved in the Court’s prior order.

Opp. 55-57. That is incorrect. Plaintiffs have reformulated their case, and must therefore show

that their new allegations withstand the applicable pleading standing. Plaintiffs’ allegations,

however, leave no doubt that the application of Cboe’s anti-manipulation rules requires discretion.

       Plaintiffs have not pleaded such bad faith. Plaintiffs assert that the CEA does not

encompass the PSLRA’s “strong inference” requirement. Opp. 58. That is true, but the substantive

standard for scienter under the CEA is higher than under the securities laws: Recklessness is

sufficient to establish liability under Rule 10b-5, whereas for purposes of the CEA, Plaintiffs must

plead that Cboe “deliberately closed its eyes so that it would not discover what it strongly suspected

was going on.” Bosco, 836 F.2d at 276. The complaint contains no well-pleaded allegations that

Cboe “deliberately closed its eyes.”

       Moreover, Plaintiffs have not pleaded an ulterior motive. Plaintiffs confirm that their sole

“ulterior motive” was the alleged desire to profit from trading in VIX derivatives. Opp. 58. This

is not enough to establish an “ulterior motive” under the CEA. See Brawer v. Options Clearing

Corp., 807 F.2d 297, 303 (2d Cir. 1986).

       C.      Plaintiffs’ Secondary Liability Claims Should Be Dismissed.

       Plaintiffs’ aiding-and-abetting claims against Cboe Options and Cboe Global should be

dismissed. The Complaint alleges that Cboe Options and Cboe Global aided and abetted the third


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party manipulators. Compl. ¶ 367. Cboe’s motion to dismiss pointed out that this claim was not

adequately pleaded. MTD at 53-54. Plaintiffs do not dispute this point, and now assert, without

citation to the complaint, that Cboe Options and Cboe Global aided and abetted Cboe Futures.

Opp. 59. In addition to being a new allegation not appearing in the complaint, this allegation is

not adequately pleaded. Plaintiffs’ vague assertion that “Cboe was acting as an integrated whole”

(Opp. 59) does not adequately plead that Cboe Options (a securities exchange) or Cboe Global (a

holding company) did anything to further violations on a separate futures exchange, much less

intended to further Cboe Futures’ alleged CEA violations. See Op. 29.

       Plaintiffs’ principal-agent claim should be dismissed as well. The complaint contains pure

boilerplate, alleging that all defendants are liable “for the manipulative acts of their agents or

representatives (including both corporate and natural persons) as well as any persons acting for

them in the scope of their employment.” Compl. ¶ 363. Plaintiffs’ brief is no better; it simply says

that “all the Cboe defendants were each other’s agents” and “Cboe entities are each responsible

for the actions of their own employees.” Opp. 59. These vague statements do not provide

sufficient notice to Cboe as to who is being accused of being an agent of who, and why.

III.   Plaintiffs Have Not Pleaded Manipulation At All.

       Finally, Plaintiffs have not adequately alleged that anyone manipulated the market—which

necessarily forecloses Plaintiffs’ claim that Cboe facilitated that manipulation.

       Plaintiffs do not dispute that they must plead manipulation with particularity—that is, they

must plead “the ‘who, what, when, where, and how’ of the fraud.” Pirelli Armstrong Tire Corp.

Retiree Med. Benefits Trust v. Walgreen Co., 631 F.3d 436, 441-42 (7th Cir. 2011) (citation

omitted). Plaintiffs claim they have satisfied these requirements because they have pleaded that

“the VIX settlement price that was manipulated (the ‘what’) during the SOQ process (the ‘when’)

through numerous flaws in Cboe’s design of the SOQ, including ‘banging the close,’ abuse of the


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‘two-zero bid rule,’ and other methods (the ‘how’)[.]” Opp. 14-15. None of these allegations is

sufficient. First, Plaintiffs do not allege who the manipulators are, even generally or by category.

Plaintiffs offer general descriptions of Lead Market Makers and Designated Primary Market

Makers, Compl. ¶¶ 59-63, without identifying whether the John Doe manipulators fall into either

category. Second, Plaintiffs’ phrase “during the SOQ process” overlooks that there have been

hundreds of “SOQ process[es],” and suggesting that manipulation occurred at some point during

an unspecified SOQ process does not plead “the ‘when.’” Similarly, speculating on two possible

methods, plus unspecified “other methods,” does not specify the “how” with particularity.

       Plaintiffs allege that statistical evidence of an “overall pattern of manipulation” is enough

to state a claim with particularity. Opp. 15. It is not: aggregate data over many years that is,

allegedly, consistent with all or an unspecified percentage of VIX settlements being manipulated

in unspecified ways is not “particularized.” Plaintiffs cite In re Commodity Exchange Inc. Gold

Futures & Options Trading Litigation, 213 F. Supp. 3d 631, 645 (S.D.N.Y. 2016), but in that case

the plaintiff identified both the specific manipulators (the defendants themselves) and the specific

mechanism of manipulation (the offering of rigged rates). No such allegations appear here.

       Moreover, contrary to Plaintiffs’ current assertions, replication can explain the purportedly

suspicious data that Plaintiffs’ economists identify. MTD 56-57. Plaintiffs say that Cboe’s

argument improperly rests on the assumption that “replication requires trading in the exact same

proportions as was eventually used in the actual settlement for a given day,” whereas the complaint

“nowhere alleges that replication requires such prescient proportionality.” Opp. 17. But that is

what replication means. “‘Replication’ is the ability to accumulate a portfolio of the components

of an index in the same proportion that each component is represented in the index.” Compl. ¶ 66.

The whole point of replication is that market participants seeking to replicate would need to trade




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in the options that are used to calculate the settlement value in the same proportions that those

options are represented in the VIX formula used in settlement.

       Plaintiffs allege that “this begs the question of why far out-of-the-money puts are included

in a given settlement value calculation.” Opp. 17. The obvious explanation is that the price of a

far out-of-the-money put provides information regarding the market’s expectations regarding a

substantial drop in the S&P 500 over the next 30 days, part of the overall expected volatility the

VIX formula is designed to measure. Moreover, this formula has been widely publicized for over

a decade and innumerable market participants have referred to it; it is implausible for Plaintiffs to

suggest that they have just now discovered that the VIX formula’s use of far out-of-the-money

puts can only be explained as a means to facilitate market manipulation.

       Plaintiffs’ additional allegations are also insufficient. For instance, Plaintiffs cite the paper

of Griffin and Shams (Opp. 18), but that paper similarly aggregates data and concludes only that

the VIX settlement “appears susceptible to manipulation,” while admitting that “we cannot fully

rule out all potential explanations without more granular data.” MTD 58. Likewise, Plaintiffs cite

such tangential evidence as Cboe’s initiation of unrelated disciplinary actions and statistical

evidence regarding the market’s reaction to a regulatory investigation, Opp. 16-18, but all of these

allegations require a chain of circumstantial inferences that fail to satisfy Rule 9(b).

                                          CONCLUSION

       Plaintiffs’ claims against the Cboe defendants should be dismissed with prejudice.



Dated: November 4, 2019                            Respectfully submitted,

                                                   By: /s/ Reid J. Schar
                                                      Counsel for Cboe Defendants




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                                CERTIFICATE OF SERVICE

       I, Reid J. Schar, hereby certify that on November 4, 2019, I electronically filed the forgoing

Reply Memorandum of Law in Support of Cboe Defendants’ Motion to Dismiss using the

CM/ECF system, and have verified that such filing was sent electronically using the CM/ECF

system to all parties who have appeared with an email address of Record.


                                                  /s/ Reid J. Schar

                                                  Counsel for Cboe Global Markets, Inc.,
                                                  Cboe Futures Exchange LLC, and Cboe
                                                  Exchange, Inc.




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